The court find that this defendant, the Industrial Commission of Ohio, had incorporated into the transcript filed in the court of common pleas of Hamilton *Page 652 
county, Ohio, in the case of Nora Stuckenberg v. IndustrialCommission of Ohio, No. A-9253, all the testimony, the evidence, the records and papers which were before it at the original hearing and previous to the filing of the application for rehearing, and that by reason thereof the same are available for use in said case in the court of common pleas as evidence, subject to the competency of the entire file or parts thereof as may be offered by the plaintiff, to be passed upon by the trial judge; and that, therefore, the plaintiff is not entitled to a writ of mandamus as prayed for, and the petition is accordingly dismissed at the cost of relator.
Petition dismissed.
JONES, MATTHIAS, ALLEN, KINKADE and STEPHENSON, JJ., concur.
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